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IN THE UNI'I`ED STATES DlSTRICT COURT OSJ \§/
FOR THE WESTERN DISTRICT OF TENNESSEE 01 ‘_:\/ \OC
EASTERN DIVISION q 40 ' '
*"»?€’ (;U¢£,;`} int ` 6" /O
DONALD L. RUIS, JR. and REGINA ) c gigka
D. RUIS, ) U zf"aaj~:/b?/`£h@
) L§OV f
Plaintiffs, )
)
v. ) NO. 04-1235 T/An
)
DEPUTY SHERIFF DANNY )
BROWNING, et al., )
)
Defendants. )

 

ORDER GRANTING MOTION TO COMPEL

 

Before the Court is Defendants’ Motion to Compel Discovery Responses filed on June
14, 2005. Plaintiffs failed to tile a response to the motion as required by Local Rule 7.2(a)(2).
“Failure to timely respond to any motion, other than one requesting dismissal of a claim or
action, may be deemed good grounds for granting the motion.” Local Rule 7.2(a)(2). As such,
the Motion is GRANTED. Plaintiffs shall serve complete responses to Defendants’ discovery
requests Within ll days for entry of this Order. Plaintiffs are Warned that the failure to comply
with an Order of the Court can be grounds for the imposition of sanctions, including dismissal of
the Plaintiffs’ Complaint.

F ederal Rule of Civil Procedure 37 provides that the payment of reasonable expenses,
including attorney’s fees, is an appropriate sanction for discovery abuse. See Fed. R. Civ. P. 37.
ln addition, “a court may assess attorneys’ fees When a party has acted in bad faith, vexatiously,

wantonly, or for oppressive reasons.” Dil!on v. Nissan Motor Co., er., 986 F.Zd 263, 266 (Sth

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Cir. 1993). For good cause shown and because Plaintiffs did not respond to the instant motion,
the Court ORDERS that Plaintiffs should be required to pay reasonable expenses, including
attorney’s fees, to Defendants. Within ll days of entry of this Order, Defendants shall submit to
the Court a detailed accounting of the fees and expenses incurred as a result of the instant

motion.

IT IS SO ORDERED.

families

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: Q;}_Q.__ <;,-';)Ol 200_\/
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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 1:04-CV-01235 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

ESSEE

 

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Honorable J ames Todd
US DlSTRICT COURT

